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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

NATIONAL ASSOCIATION OF
REALTORS,

Petitioner,

Civil Action No. 1:2 1-cv-02406-TJK
Vv.

UNITED STATES OF AMERICA, et al.,

Respondents.

NOTICE OF APPEARANCE
To: The Clerk of Court and all parties of record.

I am admitted or otherwise authorized to practice in this court. I appear in this case as
counsel for the United States of America; U.S. Department of Justice, Antitrust Division; and

Jonathan S. Kanter, in his official capacity as Assistant Attorney General, Antitrust Division,!

Respondents in the above-named case.

August 27, 2024 Respectfully submitted,

/s/ CURTIS W. STRONG

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1 Pursuant to Federal Rule of Civil Procedure 25(d), Assistant Attorney General Jonathan S. Kanter
has been automatically substituted for Acting Assistant Attorney General Richard A. Powers.
